 

Case 1:15-cV-00563-RP Document 1-3 Filed 06/30/15 Page 1 of 15

EXHIBIT “A-Z”

 

 

 

 

Case 1:15-cV-00563-RP Document 1-3 Filed 06/30/15 Page 2 of 15

6!3!2015 2:28:21 PM
Velva L. Price
District Clerk
Travis County

 

t)~1 ~cN-15-0021 60 D'HSN'* 5"°°216°
CAUSE NO.
casares Ltsosssc m ins o:smor oocnr
ssRo
V' JUDICIAL const

TRAVELERS LLOYDS OF TEXAS

’IRAVIS__€T* JNTY,
INSURANCE CoMPANY "

l'-O'JCO'>GO'JGOQCO‘JE-O>Cm

       

 

PLAINTIFF’S ORIGINAL PETITIOI\

 

    
 
 

TO THE HONURABLE .TUDGE OF SAID COU'RT:
NOW Comes Charles Lindberg, hereinafter referr 0 as “Plaintiff,” complaining of

Defendant, Travelers Lloyds Of T_exas Insurance: \-,-o_inpany, hereinafter referred to as

 

“Defendant,” and hereby respectful.i§,r shows unto ourt and Jul'y as follows:

I. msc oVERYf§:r)NTROL PLAN

 
  
 

P]aintiff intends for discovery to ionducted under Levci 3 of Rule 190 of the Texas

 

 

Rules of Civil Procedure. This involves complex issues and Wi]l require extensive
discovery, Therefore, Plajstiff asi€s die Court to order that discovery be conducted in accordance

\ored to the particular circumstances of this suit

 
 
  
 

MM

Plaintiff, C rs Lindberg, is an individual and resident of Te);as.

Travelers L]oyds Of Texas hisurance Company (“Traveiers”), is a Texas
domestic Lio;d‘s plan insurance company that,- on information and belief, is licensed to conduct
die business of insurance in Texas and/or has its principal‘place of business located in Texas.

')¢¢

Additionally, one or more of Travelers members” are citizens of Texas. lt can, therefore, be

Page 1 cf 14

 

 

Case 1:15-cV-OO563-RP Document 1-3 Filed 06/30/15 Page 3 of 15

served With citation by serving its registered agent, the Corporation Service Cornpany, by
certified mail, return receipt requested, at 211 East 7th Street, Suite 620, Austin, TX ?S?Ol..
I]]. JURISDICTION AN]) VENUE
This Court has jurisdiction over this case in that the amount in controversy exceeds the

minimum jurisdictional limits of this Court.

 

Venue is mandatory and proper in Travis County, Texas, because o or a substantial part

 

of the events giving rise to the lawsuit occurred inthis county (see ij ` Civ. Prac. & Rern. Code

  

§15.002) and the insured property that is the basis of this lang a is located in rl`ravis County,
Tcxas. See 'l`ex. lns. Code §2210.552 and Tex. Civ. Prac. & rn Code § 15.032 (see below).

lv. conrroNs Pn csnEN'r

     

All conditions precedent to recovery have b perforrned, waived, or have occurred

 

   
 
   
  
  
 

A. Plaintiff is the holder of insurance cy Nurnher 0PC265-97820{l334-676-1 issued by the

s the “Paticy”).

 

B. Plaintiff owned the insarec"i_l_:_j`jr_opertys which is specitically located at 47 11 Valcour Bay Ln.
41, Travis County, L`Jii, Texas 78754 on March 28, 2014 (hereinafter referred to as the

ilPrOpeI,t§,!’)‘

 

o. parenth egan gold the roscy, insuring are Pmpars, terrain/aar

, l ut March 28, 2014, a severe Wind and hailstorrn struck the Austin, Texas area
causin;;evere damage to homes and businesses throughout the area, including Plaintift’s
Property.
E. ln the aftermath of the Wind and hailstorrnJ Plaintiff submitted a claim to Defendant against

the Policy for roof damage and Water damage the Property sustained as a result of the wind

Page 2 of 14

 

 

 

Case 1:15-cV-OO563-RP Document 1-3 Filed 06/30/15 Page 4 of 15

and hailstorm. Plaintii`f asked that Defendant cover the cost of repairs to the Property
pursuant to the Policy and any other available coverages under the Policy.
Defendant assigned claim number HRNB’/'?O to Plaintifi”s claim.

Defendant hired and/or assigned an adjuster to adjust the claim,

    
  

   
 

Defendant andlor its agent improperly adjusted the Plaintiff’s claim illthout limitation,

Defendant’s adjuster misrepresented the cause ot`, scope of, and cos o repair the damage to

   
    
      

Plaintiff’s Pl‘operty, as Well as the amount of insurance cove{r' ` jell-for Plaintiid" s clairru'loss

 

under Plaintift’s Policy. Tlu'ough Defendant’s adjuster c endant made these and other

false representations to Plaintiff, either knowingly orr eldessly, as a positive assertion, and

     
  

vvithout knowledge of the truth. Defendant ma ' ese false representations With the intent

that Plaintiff act in accordance with s representation:~;l Plaintift` relied on the

Defendant’s misrepresentations includii but not limited to those regarding the cause of,

  

scope of, and cost to repair the dari§ Fe to Plaintiff’s Property. Plaintiff has been damaged

   

as a result of such reliance
Because Defendant underpaid Plaintift` on Plaintiff’s insurance claim, Plaintift` has not been

able to properly and er pletely repair the damages to Plaintii:t’s Property. This has caused

   

 

Property and prevent future damage by following Defendant’s advice, due both to the fact
that the advice Was false and to Defendant’s failure to pay for damages covered under the

Policy. Plalntift’s Property has sustained further damages as a result

Page 3 of 14

 

 

Case 1:15-cV-OO563-RP Document 1-3 Filed 06/30/15 Page 5 of 15

Defendant misrepresented that the damages caused by the Wind and hailstonn Were not
covered damages under the policy. However, Defendant’s representations Were false
because Plaintiff’s Wind and hailstorm damages exceed $ll,OO0.0'U and Were caused by a

covered occurrence

 
 

Defendant failed to properly adjust the claims and Defendant has denied t cast a portion of
the claims without an adequate investigaiion, even though the Polid§:iprovided coverage for

losses such as those suffered by Plaintitt`.

    
  
 

'Ihese false representations allowed Defendant to financiai ain by wrongfully denying at
least a portion of Plaintiff’s claim.
Plaint:ifl’s claim(s) still remain unpaid and the ntift` still has not been able to properly

repair the Property.

Defendant failed to perform its contrac: -il duty to adequately compensate Plaintilf under

  
 

the terms of the Policy. Specificall' efendant failed and refused to pay the full proceeds

 

of tire Policy, although due d friend Was made for proceeds to be paid in an amount

 

sufficient to cover the dard__aged Property and all conditions precedent to recovery upon the

Policy had been carrie

   
    
  

_ t and accomplished by P]aintiff. Defendant’s conduct constitutes
a breach ofthe ir'-: ce contract between Defendant and Plaintiff.

Defendant " iepresented to Plaintiff that some of the damage to the Property Was not
. er the Policy, even though the damage Was caused by a covered occurrence
Defen`d?a;it’s conduct constitutes a violation of the Te:>ras lnsurance Code, Unfair Settlement
Practices. TEX. INS. CODE Section 541.060(a)(l).

Defendant failed to make an attempt to settle Plaintiff’ s claim in a fair manner, although it

Was aware of its liability to Plaintiff under the Policy. Defendant’s conduct constitutes a

Page4 of ill

 

 

 

Case 1:15-cV-00563-RP Document 1-3 Filed 06/30/15 Page 6 of 15

violation of the Texas Insurance Code, Unfaii' Settlernent Practices. TEX. ]NS. CODE
section 541.o60 (a)(:z)(A).
Defendant failed to explain to Piaintiif the reasons for its offer of an inadequate settlement

Speci&eally, Defendant failed to offer Plaintiff adequate compensation5 Without any

         

explanation Why full payment Was not being made Furtbcrmor efendant did not
communicate that any future settlements or payments Would be fo seeming to pay for the

entire losses covered under the Policy, nor did it provide anyi_ ;pianation for the failure to

 

adequatelyr settle Plaintiff’s claim TEX. lNS. CODE 8th n 541.060(a)(3).

 

Defendant failed to affirm or deny coverage of Plain ii"’s claim within a reasonable tirne.

 

Specifically, Plaintiff did not receive timelyr indi§ ion of acceptance or rejection, regarding

 
  
   

tile full and entire claim, in Writing nom ndant. Defendant’s conduct constitutes a

   
  
  

violation of tile Texas Insuranee Code nfair Settlement Practices. TEX. INS. CODE
section 541.060(3.)(4}.
Defendant refused to fully corn sate Plaintiff, under the terms of the Policy, even though

Defendant failed to conduet'“a reasonable investigation Speoiticallv, Defendant performed

   
 
 

an outcoine~oriented ` iestigation of Plainn`ft’s ciaim, Wln'eh resulted in a biased, unfair and

 

inequitable evalusti of Plaintift" s losses to the Property. Defendant’s conduct constitutes

 

Defendant failed to meet its obligations under the TeXas lnsurance Cocle regarding timely
acknowledging Plaintiff’s claim, beginning an investigation of Piaintiff’s claim and

requesting all information reasonably necessary to investigate Piaintiff" s claim Witbin the

Page 5 of 14

 

 

 

Case 1:15-cV-00563-RP Document 1-3 Filed 06/30/15 Page 7 of 15

statutorily mandated dead}ine. Defendant’s conduct constitutes violation of the Texas
Insurance Code, Prornpt Payment of Claims, TEX. INS. CODE Section 542.{)55.

Defendant failed to accept or deny Plaintif’r’s full and entire claim Within the statutory

mandated deadline of receiving all necessary information Defendant’s conduct constitutes

 

claim Defendant’s conduct constitutes viol ' ‘of the Texas lnsurance Code, Prompt

 
  
  

Payment of Clairns, TEX. INS. CODE Secti'< 42.058.

Frorn and after the time Plaintifi`s cl ;F"n vvas presented to Defendant, the liabiiity of

     

Defendant to pay the full claim in eordance vviti:r the terms of the Policy Was reasonably

    

clean However, Defendant ha -efused to pay Plaintiff` in full, despite there being no basis

 

Whatsoever on Whicli a reasonable insurance company Would have relied to deny the full

     
    
  
  

payment Defendan zonduct constitutes a breach of the common law duty of good faith
and fair dealing
Defendant’s wrongful acts and omissions, Plaintiff Was forced to retain the
services`of the attorneys and iaw firm Wlio are representing Piaintiff with
respect to these causes of action

Plaintiff’s experience is not an isolated case. 'l`he acts and omissions of Defendant

committed in this case, or similar acts and omissions, occur With such nequency tbat they

constitute a general business practice of Defendant With regard to handling these types of

Page 6 of 14

 

 

 

Case 1:15-cV-OO563-RP Document 1-3 Filed 06/30/15 Page 8 of 15

claims Defendant’s entire process is unfairly designed to reach favorable outcomes for the
company at the expense of the policyholder. Specilically, Defendant received a benefit
When it refused to pay Plaintiffs entire claim because it retained thousands of dollars that
should rightfully have been paid to Plaintiff under the Policy.

Vl. TH]EORIES OF LIAB]LITY

 

A. Cause of Action for Breach of Contract

rid subsequent paragraphs

 
  
 
  
    
 

Plainti_ff realleges and incorporates by reference all previous
herein. _-
According to the lnsurance Policy that Plaintiff p.u hased, Defendant has the duty to
investigate and pay Plaintift”s policy benents for cla;i made for covered damages, including
additional benefits under the Policy, resulting fr he wind and hailstorrn. As a result of the

Wind and haiistorm andjcr ensuing losses ftc 1 the Wind and hailstoirn, both of Which are

    
   

covered perils under the Policy, Plaintift’ operty has been damaged

Defendant’s failure and requ 5 s described above, to pay the adequate compensation as
it is obligated to do under the terms of the Policy in question and under the laws of the State of

’I`exas, constitutes a breach ijefendant’s contract With Plaintiff. As a result of this breach of

   

contract, Plaintiff has ':'¢Fered the damages that are described in this petition

 
   
  

B. Canse of Action `_ Violation of Scction 542

 

' _ ea]_leges and incorporates by reference all previous and subsequent paragraphs

 

herein
Defendant’s acts, omissions, failures and conduct that are described in this petition
violate Section 542 of the Texas Insurance Code. Within the timefrarne required after the receipt

of either actual or written notice of Plaintift“s claim, Defendant did not request from Plaintiff any

Page 7 of 14

 

 

 

Case 1:15-cV-00563-RP Document 1-3 Filed 06/30/15 Page 9 of 15

items, statements, or forms that it reasonably believed at that time vvould be required from
Plaintiff for his clai_rn. As a result, Defendant has violated Section 542 by failing to accept or
reject Plaintiff’ s claim in Writing Within the statutory timeframe. Defendant also violated Section

542 by failing to pay Plaintiff’s claim Within the applicable statutory period fn addition, in the

    
  
  
   
 

event it is determined that Defendant owes Plaintiff any additional monies ‘::£::l')laintiff’ s claim,

then Defendant has automatically violated Section 542 in this case.
C. ]]TPA Cause of Action ii

Plaintiff reaileges and incorporates by reference all pre"; s and subsequent paragraphs
herein,

Plaintiif incorporates all the allegations in thi ____j_petition for this cause of action against

      

Defendant under the provisions of the DTPA. F- iff is a consumer of goods and services

     

provided by Defendant pursuant to the DTP: Plaintiff has met all conditions precedent to

bringing this cause of action against DE ndant. Speciiically, Defendant’s violations of the

   

DTPA include, vvithout limitation, the

 

By its acts, omissions, failures and conduct that are described in this petition, Defendant

  
   
 
  
   
  

has violated Sections 17.46 f 'C:'£), (5), (7}, (9), (iZ), (20) and (24) of the DTPA. In this respect,

Defendant’s violation ;Tclude, vvithout liinitation, (l) its unreasonable delays in the
investigation ade ent and resolution of Plaintiffs claim, (2) its failure to give Plaintift` the
bt, and (3) its failure to pay for the proper repair of Plaintist Property on
vvhich liability had become reasonably clear, Which gives Plaintiff the right to recover under

Section 17.46 (b)(Z).

Page 8 ofl4

 

 

Case 1:15-cV-OO563-RP Document 1-3 Filed 06/30/15 Page 10 of 15

As described in this petition, Defendant represented to Plaintiff that its insurance policy
and Defendant’s adjusting and investigative services had characteristics or benefits that it did not
have, which gives Plaintiff the right to recover under Section 17 .46 (b)(§) of the DT,PA;

As described in this petition, Det`endant represented to Ylaintiff that its insurance policy

 

and Defendant’s adjusting and investigative services were of a particular s "'idard, quality, or

 

grade vvhen they vvere of another in violation of Section 17 46 (b)(7) of th DTPA;

     

As described` in this petition Dei`endant advertised its insura_i ., policy and adjusting and

investigative services with intent not to sell them as advertisé violation of Section 17,46

 

(b)(s) er the DTPA;

As described in this petition, Defendant repre prod to Plaintiff that its insurance policy

    
 

and Defendant’s adjusting and investigative ser onferred or involved rights, remedies, or
obligations that it did not have, Which gives i intiff the right to recover under Section 17.46
(b)(lZ) of the DTPA;

As described in this petition, 'T~‘"“ endant failed to disclose information concerning goods

or services which Were knan a:t_;ihe time of the transaction and such failure to disclose vvas

 

intended to induce Plaintiff , a transaction into Which the Plaintiff vvould not have entered had

  
 

the information been di"‘cloised, Which gives Plaintiff the right to recover under Section 1146

 
 
  

(b)(z¢i) area ori>_»

Defend¢. has breached an express Warranty that the damage caused by the vvind and

 

hailstorrn vvould be covered under the insurance policy. This breach entitles Plaintiff to recover
under Sections 17.46 (b)(lZ) and (20) and 17.50 (a)(2) of the DTPA;
Dei"endant’s actions, as described in this petition, are unconscionable in that it took

advantage of Plaintiff’s lack of knowledge ability, and experience to a grossly unfair degree

rage 9 er 14

 

 

 

Case 1:15-cV-00563-RP Document 1-3 Filed 06/30/15 Page 11 of 15

Defendant’s unconscionable conduct gives Plaintiff the right to relief under Section l7.50(a)(3)
of the DTPA; and
Defendaiit’s conduct, acts, omissions, and failures, as described in this petition, are unfair

practices in the business of insurance in violation of Section 17.50 (a)(4) of the DTPA.

   

All of the above-described acts, omissions, and failures of Defendr are a producing

  
    
  
  
 
     
   

cause of Piaintiff’s damages that are described in this petition. Ail of t .above-describ ed acts,

omissions, and failures of Defendant Were done knowingly and in schally as those terms are
used in the Texas Deceptive Trade Practices Act.
]}. Cause of Action for quair Insurance Practiccs
Plaintiff realleges and incorporates by referen il previous and subsequent paragraphs
hereiu.
Plaintiff incorporates ail the allegation n this petition for this cause of action against
Det`endant under the 'l`exas Insurance C Plaintiff` has satisiied all conditions precedent to
bringing this cause cf action By lacts, omissions, failures, and conduct, Det“endant has

engaged in unfair and deceptive a or practices in the business of insurance in violation of 541

   

of the Texas Insurance Co __ i Such violations incinde, without limitation, all the conduct

 

described in this petitio p us Defendant’s unreasonable delays in the investigation, adjustment5

    
 

and resolution of tiE’s claire and Det`endant’s failure to pay for the proper repair cf

Plaintiff’s P ny on Which liability had become reasonably clean They further include

 

Dei`endant’s failure to give Plaintit`t` the benefit of the doubt Speciticaliy, as described in
Plaintiff’s factual allegations, Dei`endant is guilty of the following unfair insurance practices:

A. Engaging in false, misleading and deceptive acts or practices in the business of
insurance in this case;

B. Engaging in unfair clajrns settlement practices;

Page 10 of 14

 

 

 

Case 1:15-cV-OO563-RP Document 1-3 Filed 06/30/15 Page 12 of 15

C. Misrepresenting to Plaintiff pertinent facts or policy provisions relating to the
coverage at issue;
D. Not attempting in good faith to effectuate a prompt, fair, and equitable settlement

of claims submitted in Which liability has become reasonably clear;

 
  

E. Failing to affirm or deny coverage of Plaintiff’s claim Within a enable time;

F. Refusing to pay Plaintiff’ s claim vvithout conducting a r§iisonable investigation

vvith respect to the claim; and

  
      

G. Failing to provide promptly to a policyholder asonable explanation of the

   

basis in the insurance policy in relation "`e facts or applicable law for the

denial of a claim or for the offer of a co _pa:hy’s settlement

 

action. By its acts, omissions, failures and conduct, Defendan.t has breached its common law
duty of good faith and fair dealing by failing to pay the proper amounts on Plaintifr’s entire
claim without any reasonable basis and by failing to conduct a reasonable investigation to

determine Whether there Was a reasonable basis for this denial Defendant has also breached this

Page 11 of 14

 

 

 

Case 1:15-cV-00563-RP Document 1-3 Filed 06/30/15 Page 13 of 15

duty by unreasonably deiaying payment of Plaintiff’s entire claim and by failing to settle
Plaintin’s entire claim because Defendant knew or should have known that it was reasonably
clear that the claim was covered These acts, omissions, failures, and conduct of Defendant are a
proximate cause of Plaintiff’ s damages

VII. WAIVER AN]) ESTOPPEL

  
 

l)_efendant has Waived and is estopped from asserting any covers defenses, conditions,
exclusions, or exceptions to coverage not contained in any reservatio "`"~’f)f rights letter to Plaintiff.

m\§_l;f_. DAMAGES

   
    
  
  

The above described acts, omissions, failures and jonduct of Defendant has caused

Plaintiff’ s damages, Which include, ndthout limitati the cost to properly repair Plaintift“s
property and any investigative and engineering s incurred in the claim. Plaintiff is also

entitled to recover consequential damages frori efendant’s breach of contract Plaintiff is also

   

entitled to recover the amount of l-"laintiff”':':v claim plus an 18% per annum penalty on that claim

 

against Det`cndant as damages under speech 542 of the Texas lnsurance Code, plus prejudgment

 

interest and attorneys fees ln as:i:e'ffcrt to comply with Rule 47{0) of the TeXas Ruies of Civil

  
 

Procedure, Plaintiff seeks , etary relief over $100,{}00.00 but not more than $200,()00.00.

Therefore, all the dam es described in this petition are Within the jurisdictional limits of the

 

Ccult.

IX. ADDITIONAL DAMAGES

 

 

Defendant has also "lmowingly" and “intentionally” committed deceptive trade practices
and unfair insurance practices as those terms are defined in the applicable statutesl Beeause of

Defendanl’s knowing and intentional misconduct, Plaintiff is entitled to additional damages as

Page 12 of14

 

 

 

Case 1:15-cV-OO563-RP Document 1-3 Filed 06/30/15 Page 14 of 15

authorized by Section l?.SO(b)(l) of the DTPA. Plaintiff is hiltth entitled to the additional
damages that are authorized by Section 541 of the Texas Insurance Code.

X. EXEMPLARY DAMAGES

 

Defendant’s breach of its duty of good faith and fair dealing owed to Plaintiff Was done

  

inlentionally, With a conscious indifference to the rights and Welfare o
c‘malice” as that term is deEned in Chapter 4l of the rfean Civil f’racti'o rand Remedies Code.

These yiolations by Defendant are the type of conduct which the tate of Texas protects its

  

citizen against by the imposition of exemplary damages Ther§ ie, Plaintiff seeks the recovery

of exemplary damages in an amount to be determined by .t “ finder of fact that is sufficient to

   
      
  
   

punish Defendant for their Wrongful conduct and to s " example to deter Defendant and others

1

similarly situated from committing similar acts in ;~

XI. ATTO'; iEYS’ FEES

 

As a result of Defendant’s conduit that is described in this petition, Piaintiff has been

 

forced-to retain the undersigned att days to prosecute this action and have agreed to pay

    
  
    

reasonable attorneys‘ fees. Plain;:_ ’is entitled to recover these attorneys fees under Chapter 38

of the Texas Civii Practice * o Remedies Code, Sections 541 and 542 of the Texas lnsurance
Code, and Section l7.5fi‘-nfi:he DTPA.

X[[. .}URY `DEMAND

Plainti*f sserts Piaintinls right to a trial by jury, under Texas Constitution Article i,
Secticn 15, and makes this demand for a jury trial at least 30 days before the date this case is set
for trial, in accordance With Texas Ruie of Civil Procedore 216. Plaintiff tenders the fee of

$30.00, as required by TeXas Govemment Code Section 51.604.

XIII. REOUEST FOR DISCLOSURE

Page 13 ofl4

 

 

Case 1:15-cV-OO563-RP Document 1-3 Filed 06/30/15 Page 15 of 15

seems-te reese ama storer ere-seams 1.04.:2_, Plenerfaaqaese set :lereeaaar
eiseieses, within 556 days offers service ofrhrsrequest the‘-fiitfer_maeeaer material eeseieed€ia
311101942 (0>#(1)

XIV PRAYER

     
  
      
   
   
    
     
  
 
 
  

WHEREFORE PREI\/HSES CGNSIDERED Plamvffprars fha ` meant 100 0110€1 1101

appears aaa assesshsraa esa ser;ap@a-'stiaiaeaesf;ease saintth esse-11a _ 1 sasser such sums as
mere seasonable-aeainsert camps/mses hastie -e;<.eeeiae¢e wear " is sf law ana promise
"BDTT;I fee is fH¢Waf-f damages -a§f!li§eea@r:iial.' damages-,-; treble dee 1 under the T-¢aas lazzara-nee

ease aaa rees escapees "Tsaee ssaeeees Aet,aadall_. eve easieeaai}; eed-.exempz

 

deweeseer 00 found easement .t-.’IH-ietiff`r@sa 1100-award 0"f'et0m0s"s-1;tees for diesel

me say appear ereis-ease,=*fer;ali;eesreereams, _ jeeg;see.:saa‘pasa§aag;eentweise-as

attested eyes and for summer ana fmha ' ar law en mequlty :e' watches may ease

himself-te- "-00-13`1 rear entitles-1

‘Respieeiiil:ly-fsal?m§itte'd

.seeieH'r-s:saweanlen
tssefNene Leep i-e1ea;iieiiswte 104
"S'arr Antemo Te)cas?$?.?)l

(2 3149'5;'-6318` fleetiheae)§
ffCZ§iliDJe§?-S=6?1§0€‘(11?.003£1:11110“31

 

sam \.: -' sr reams/oer
Teitas State Bar N-`o`:. 94980040
beiilarmn@spelglitsfmn,eem

 

 

ATTORNEY FOR PLAINTIFF

lP`ese 1043 of 1114-

 

